Case 2:07-cr-02116-EFS   ECF No. 157   filed 05/20/08   PageID.456 Page 1 of 6
Case 2:07-cr-02116-EFS   ECF No. 157   filed 05/20/08   PageID.457 Page 2 of 6
Case 2:07-cr-02116-EFS   ECF No. 157   filed 05/20/08   PageID.458 Page 3 of 6
Case 2:07-cr-02116-EFS   ECF No. 157   filed 05/20/08   PageID.459 Page 4 of 6
Case 2:07-cr-02116-EFS   ECF No. 157   filed 05/20/08   PageID.460 Page 5 of 6
Case 2:07-cr-02116-EFS   ECF No. 157   filed 05/20/08   PageID.461 Page 6 of 6
